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                    IN THE UNITED STATED BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON                                                   ENTERED
                                                                                              06/04/2021
IN RE:                                           §
                                                 §      CASE NO: 21-31811
1917 HEIGHTS HOSPITAL, LLC,                      §
                                                 §
         Debtor.                                 §
                                                 §
                                                 §      CHAPTER 11

                                  ORDER FOR
                   CHAPTER 11 ELECTRONIC STATUS CONFERENCE


       On July 12, 2021 at 9:00 a.m. (Central Standard Time) before the United States Bankruptcy
Court, Houston Division, the Court will conduct an initial electronic status conference in the
above-captioned case. It is therefore:

ORDERED:

   1. Debtor, or Debtor’s representative and Debtor’s primary bankruptcy counsel must appear
      at this status conference;

   2. No fewer than seven (7) days prior to the status conference set by this Order, the Debtor
      must file a Chapter 11 Status Conference Statement on the Court’s CM/ECF system that
      addresses the following:

           a.   The business, financial, and other problems that prompted the filing of this case;
           b.   Attendance at a meeting of creditors pursuant to 11 U.S.C. § 341(a);
           c.   Estate’s need for professionals (e.g., attorneys, accountants, brokers, etc.);
           d.   Unique issues concerning secured debt, employees, cash collateral, executory
                contracts, and existing management;
           e.   Postpetition operations and revenue;
           f.   Status of any litigation pending in or outside this Court;
           g.   Compliance with requests for information from the United States Trustee including,
                but not limited to, requests made in the Initial Debtor Interview;
           h.   Type and adequacy of insurance coverage;
           i.   An outline of the proposed plan;
           j.   A proposed schedule for filing and confirming the proposed plan;
           k.   Debtor-In-Possession Bank Account; and
           l.   Any other matters that might materially affect the administration of this case.

   3. The Debtor shall serve its Chapter 11 Status Conference Statement on the United States
      Trustee and any official committee appointed pursuant to 11 U.S.C. § 1102, or, if no such
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      committee(s) has (have) been appointed, on the creditors that hold the twenty largest
      general unsecured claims, excluding insiders. If any committee is represented by counsel,
      service upon committee counsel shall constitute service upon the committee. Failure to
      comply with this order may result in conversion of this case to one under Chapter 7.

  4. To participate electronically, parties must follow the instructions set forth on Judge
     Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
     bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed to: (i) call in
     utilizing the dial-in-number for hearings before Judge Rodriguez at 832-917-1510,
     conference room number 999276 And to (ii) log on to GoToMeeting for video appearances
     and witness testimony, utilizing conference code: judgerodriguez.

       SIGNED June 4, 2021



                                                   __________________________________
                                                             Eduardo Rodriguez
                                                       United States Bankruptcy Judge




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